    Case 19-32377-ABA       Doc 113 Filed 12/29/24 Entered 12/30/24 00:15:02             Desc
                           Imaged Certificate of Notice Page 1 of 5




                                                      Order Filed on December 27, 2024
                                                      by Clerk
                                                      U.S. Bankruptcy Court
                                                      District of New Jersey




DATED: December 27, 2024
Case 19-32377-ABA    Doc 113 Filed 12/29/24 Entered 12/30/24 00:15:02   Desc
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Case 19-32377-ABA    Doc 113 Filed 12/29/24 Entered 12/30/24 00:15:02   Desc
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            Case 19-32377-ABA                     Doc 113 Filed 12/29/24 Entered 12/30/24 00:15:02                                                 Desc
                                                 Imaged Certificate of Notice Page 4 of 5
                                                                United States Bankruptcy Court
                                                                    District of New Jersey
In re:                                                                                                                   Case No. 19-32377-ABA
Thomas P McCabe                                                                                                          Chapter 13
Adriana M McCabe
       Debtors
                                                      CERTIFICATE OF NOTICE
District/off: 0312-1                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 27, 2024                                                 Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 29, 2024:
Recip ID                  Recipient Name and Address
db/jdb                  + Thomas P McCabe, Adriana M McCabe, 3104 Sunset Ave., Williamstown, NJ 08094-4337

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 29, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 27, 2024 at the address(es) listed
below:
Name                                Email Address
Andrew B Finberg
                                    on behalf of Trustee Andrew B Finberg ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Andrew B Finberg
                                    ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Ashley Pascuzzi
                                    on behalf of Creditor FREEDOM MORTGAGE CORPORATION ecfnotices@grosspolowy.com

Charles G. Wohlrab
                                    on behalf of Creditor Rushmore Servicing as Servicer for U.S. Bank National Association not in its individual capacity but solely
                                    as trustee for RMTP Trust, Series 2021 Cottage-TT-V bkecf@friedmanvartolo.com, cwohlrab@ecf.courtdrive.com

Denise E. Carlon
                                    on behalf of Creditor Mortgage Research Center LLC d/b/a Veterans United Home Loans, a Missouri Limited Liability Company
                                    dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com
            Case 19-32377-ABA           Doc 113 Filed 12/29/24 Entered 12/30/24 00:15:02                                                Desc
                                       Imaged Certificate of Notice Page 5 of 5
District/off: 0312-1                                         User: admin                                                                 Page 2 of 2
Date Rcvd: Dec 27, 2024                                      Form ID: pdf903                                                            Total Noticed: 1
Isabel C. Balboa
                          on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

Jason Brett Schwartz
                          on behalf of Creditor Rushmore Loan Management Services LLC as Servicer for U.S. Bank National Association, not in its
                          individual capacity but solely as Trustee for RMTP Trust, Series 2021 Cottage TT-V bkecf@friedmanvartolo.com,
                          bankruptcy@friedmanvartolo.com

Jason Brett Schwartz
                          on behalf of Creditor U.S. Bank National Association not in its individual capacity but solely as trustee for RMTP Trust, Series
                          2021 Cottage-TT-V bkecf@friedmanvartolo.com, bankruptcy@friedmanvartolo.com

Jason Brett Schwartz
                          on behalf of Creditor Rushmore Servicing as Servicer for U.S. Bank National Association not in its individual capacity but solely
                          as trustee for RMTP Trust, Series 2021 Cottage-TT-V bkecf@friedmanvartolo.com, bankruptcy@friedmanvartolo.com

John R. Morton, Jr.
                          on behalf of Creditor Ally Capital ecfmail@mortoncraig.com mortoncraigecf@gmail.com

John R. Morton, Jr.
                          on behalf of Creditor HYUNDAI LEASE TITLING TRUST ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Lynn Therese Nolan
                          on behalf of Creditor FREEDOM MORTGAGE CORPORATION LynnNolan@SilvermanGroup.net lnolan@grosspolowy.com

Terry Tucker
                          on behalf of Debtor Thomas P McCabe terrytucker@comcast.net

Terry Tucker
                          on behalf of Joint Debtor Adriana M McCabe terrytucker@comcast.net

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov

William E. Craig
                          on behalf of Creditor HYUNDAI LEASE TITLING TRUST wcraig@egalawfirm.com
                          mortoncraigecf@gmail.com;alapinski@egalawfirm.com


TOTAL: 16
